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                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


ELIJAH N. WALKER,

       Plaintiff,
                                               Case No. 1:23-cv-00745-DII
v.
                                               Hon. Judge Docket II
PHOENIX LAW PC,

      Defendant.



                             DEFAULT JUDGMENT ORDER


      1.      Judgment by default is entered in favor of Plaintiff ELIJAH N. WALKER and

against Defendant, PHOENIX LAW PC, as follows:

              a. Actual Damages                                   $ 8,806.43

              b. Attorney fees                                    $ 2,175.00

              c. Costs                                            $ 506.30

      2.      Allowing judgement interest to be added per diem.


Dated: _______________, 2023

                                          Entered:

                                          /s/ __________________________________
